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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                     Case No. CR-16-19-GF-BMM

                 Plaintiff,

       v.
                                                          ORDER
ENCORE SERVICES, LLC,
ZACHARY BROOKE ROBERTS,
MARTIN GASPER MAZZARA, and
RICHARD LEE BROOME

                 Defendant.


      Defendants moved the Court for a subpoena duces tecum to Rocky Boy

Health Board and Dr. James Eastlick, Jr. on September 12, 2016. (Doc. 66.) The

United States did not object to the requested subpoena, so long as the documents

were provided in camera. (Doc. 78 at 2.) The Court granted the motion and

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ordered Clerk of Court to issue a subpoena duces tecum to the Custodian of

Records for Rocky Boy Health Board and Dr. James Eastlick, Jr. (Doc. 69 at 1.)

      The subpoena required the Custodian of Records to produce authenticated

copies of “any and all records and documents” from January 1, 2006 to current

related to Dr. James Eastlick, Jr.’s treatment of six individuals who the United

States alleges to be co-conspirators, but are third parties to this matter. Id. at 2;

Doc. 27 at 5. The Order specified records and documents related to Dr. James

Eastlick, Jr.’s counseling activities and the dispensing of either controlled

substances or other prescribed medications to the third parties. (Doc. 69 at 2.)

      Defendants specifically sought any documentation regarding potential

substance abuse or severe mental disorders that could be “highly probative of

credibility and may materially affect the accuracy of a witness’s testimony.” (Doc.

67 at 14.)

      The Rocky Boy Health Board responded to the subpoena and provided

documents to the Court on September 30, 2016, for in camera review. (Doc. 81.)

The Court has carefully reviewed the documents. None of the documents indicate

substance abuse or severe mental disorders that would be highly probative of

credibility or may materially affect the accuracy of a witness’s testimony.


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      IT IS ORDERED that Defendants’ request that the Court disclose the

documents submitted in response to the subpoena after the in camera review is

DENIED.

      DATED this 6th day of October, 2016.




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